Case 18-55697-lrc     Doc 200    Filed 07/12/19 Entered 07/12/19 14:23:40           Desc Main
                                 Document     Page 1 of 10




  IT IS ORDERED as set forth below:



  Date: July 12, 2019

                                                                 _____________________________________
                                                                            Lisa Ritchey Craig
                                                                       U.S. Bankruptcy Court Judge

 _______________________________________________________________


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN THE MATTER OF:                           :      CASE NUMBER
                                            :
CASSANDRA JOHNSON LANDRY,                   :      18-55697-LRC
                                            :
                                            :      IN PROCEEDINGS UNDER
                                            :      CHAPTER 7 OF THE
       DEBTOR.                              :      BANKRUPTCY CODE

                          ORDER AND NOTICE OF HEARING

       The Court will hold a hearing on the Objection to Employment of Herbert Broadfoot, P.C.

as counsel for the Chapter 7 Trustee, filed by Cassandra Johnson Landry (Doc. 133) on August 29,

2019, at 10:15 a.m. in Courtroom 1204, United States Courthouse, 75 Ted Turner Drive, SW,

Atlanta, Georgia 30303.

                                  END OF DOCUMENT

Distribution List

All parties on the attached mailing matrix
Label Matrix forCase    18-55697-lrc
                  local noticing            Doc 200    FiledSystems
                                                  A+ Security  07/12/19
                                                                      Inc. Entered 07/12/19 14:23:40       Desc
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113E-1                                                Document           Page
                                                  c/o Cassandra Johnson Landry 2 of 10       8001 Woodland Center Blvd
Case 18-55697-lrc                                  869 Natchez Valley Trace                    Ste 200
Northern District of Georgia                       Grayson, GA 30017-4963                      Tampa, FL 33614-2434
Atlanta
Thu Jul 11 16:50:08 EDT 2019
Advantage Collection Professionals LLC             Aldrige Pite LLP                            All
P.O. Box 353                                       15 Piedmont Center                          104 Marietta St NW
Cambridge, Minnesota 55008-0353                    3575 Piedmont Rd NE                         Ste 100
                                                   Ste 500                                     Atlanta, GA 30303-2743
                                                   Atlanta, GA 30305-1623

Alliance For Change Through Treatment LLC          Allstate Corp                               Alpha Recovery Corporation
C/o Cassandra Johnson-Landry                       Payne Richards and Associates               5660 Greenwood Plaza Blvd
P.O. Box 1275                                      3801 Pegasus Dr, Ste 101                    Ste 101
Grayson GA 30017-0024                              Bakersfield, CA 93308-6874                  Greenwood Village, CO 80111-2417


Altisource Portfolio Solutions                     Altisource Profolio Solutions               Altisource Profolio Solutions
1000 Abernathy Rd Ste 200                          C/O Corporation Service Company             John A Vella
Atlanta, GA 30328-5604                             40 Technology Parkway South                 6060 Center Dr, Ste 500
                                                   Ste 300                                     Los Angeles, CA 90045-8857
                                                   Norcross, GA 30092-2924

Altisource Profolio Solutions                      Altisource Profolio Solutions               Altisource Profolio Solutions
Sophie A Hubscher                                  Timothy G.N. Harcourt                       Weissman Nowack Curry & Wilco PC
1000 Abernathy Rd Ste 200                          1000 Abernathy Rd Ste 200                   1000 Abernathy Rd Ste 200
Atlanta, GA 30328-5604                             Atlanta, GA 30328-5604                      Atlanta, GA 30328-5604


American Express                                   American Express Delta Sky Miles            American Express National Bank
Delta Sky Miles                                    PO Box 297871                               Becket and Lee LLP
PO Box 1270                                        Fort Lauderdale, FL 33329-7871              PO Box 3001
Newark, NJ 07101-1270                                                                          Malvern, PA 19355-0701


American Express National Bank                     American Recovery Service Inc.              Amerigroup Corporation (Delaware)
c/o Becket and Lee LLP                             555 St. Charles Dr, Ste 100                 4425 Corporation Lane
PO Box 3001                                        Thousand Oaks, CA 91360-3983                Virginia Beach, VA 23462-3103
Malvern PA 19355-0701


Amerigroup Corporation (Delaware)                  Amerigroup Corporation (Delaware)           Ames Funding
C/O C T Corporation System                         Kathleen S. Keifer                          2 N. Lake Ave.
289 S Culver St                                    120 Monument Cir                            Ste 260
Lawrenceville, GA 30046-4805                       Indianapolis, IN 46204-4906                 Pasadena, CA 91101-4177


Ames Funding                                       Annette M Cowart 191199                     Ardent Mortgage Company
2 North Lake Ave                                   Deputy Attorney General                     2677 N. Main Street, Suite 140
Pasadena CA 91101-1858                             456 Athens ST                               Santa Ana CA 92705-6659
                                                   Jefferson, GA 30549-1408


Argent Mortgage Company                            Association for Habersham                   Association for Habersham
2677 N. Main St                                    160 Clairmont Ave                           c/o Dorough & Dorough
Suite 140                                          Decatur GA 30030-2500                       160 Clairmont Ave
Santa Ana, CA 92705-6659                                                                       Decatur, GA 30030-2500
Association for Case    18-55697-lrc
                Habersham at           Doc 200    Filedand07/12/19
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                                                                                              Bank of America, N.A. Main
Nortlake Condominium                             Document           Page    3  of
                                             3547 Habersham at Northlake Bldg. F  10          P O Box 982284
c/o Donough and Donough                        Tucker GA 30084-4001                           El Paso, TX 79998-2284
160 Clairmont Ave
Decatur, GA 30030-2500

Heather D. Bock                                Herbert C. Broadfoot II                        Bureaus Investment Group Portfolio No 15 LLC
McCalla Raymer Leibert Pierce LLC              Herbert C. Broadfoot II, PC                    c/o PRA Receivables Management, LLC
1544 Old Alabama Road                          Buckhead Centre - Suite 555                    PO Box 41021
Roswell, GA 30076-2102                         2964 Peachtree Road, NW                        Norfolk VA 23541-1021
                                               Atlanta, GA 30305-2153

Burgess Title & Escrow LLC                     C T Corporation                                CACH LLC
230 Patrick Henry Pkwy #350                    Lawrence, GA 30046-4805                        Harold E. Scherr
McDonough, GA 30253                                                                           300 Primera Blvd., #356
                                                                                              Lake Mary, FL 32746-2142


CACH LLC                                       CACH LLC/Resurgent Capital Services            CACH, LLC
PO Box 5980                                    PO Box 5235                                    Resurgent Capital Services
Denver, CO 80217-5980                          Greenville, SC 29606                           PO Box 10587
                                                                                              Greenville, SC 29603-0587


CMIT Solutions of Atlanta                      Capital One/American Express                   Capital One/Marriott Visa
North Perimeter                                The Bureaus                                    The Bureaus
1200 Abernathy Rd                              1717 Central St                                1717 Central St
Ste 1700                                       Evanston, IL 60201-1507                        Evanston, IL 60201-1507
Atlanta, GA 30328-5671

Carl W Wright PC                               Carl W. Wright PC                              Carrington Mortgage
1239 Lakeview Cove                             367 Athens Hwy Ste 900                         1600 South Douglass Rd
Loganville, GA 30052                           Loganville, GA 30052-4997                      Suite 100 & 200A
                                                                                              Anaheim, CA 92806


Carrington Mortgage                            Cassandra Johnson Landry                       Cassandra Johnson Landry
1600 South Douglass Rd                         For Alliance For Change                        For Alliance For Change
Suite 110 & 200A                               869 Natchez Valley Trace                       P.O. Box 1275
Anaheim, CA 92806                              Grayson GA 30017-4963                          Grayson GA 30017-0024


Catherine C. Kruger PC                         Cb/VicScrt                                     Chase
PO Box 767847                                  PO Box 182789                                  PO Box 15298
Roswell, GA 30076-7847                         Columbus, OH 43218-2789                        Wilmington, DE 19850-5298



Chase Card Services                            Chase Mortgage                                 Chicago Title Company
PO Box 15298                                   PO Box 24696                                   601 Riverside Ave
Wilmington, DE 19850-5298                      Columbus, OH 43224-0696                        Jacksonville, FL 32204-2946



Chicago Title Company                          Christopher M Carr                             Christopher M Carr 112505
Madeline G.M. Lovejoy                          Attorney General                               Attorney General
3210 El Camino Real                            456 Athens St                                  456 Athens ST
Ste 200                                        Jefferson, GA 30549-1408                       Jefferson, GA 30549-1408
Irvine, CA 92602-1368
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101 Hodencamp Rd Ste 120                        900 Old Roswell Lakes Pkwy               900 Old Roswell Lakes Pkwy
Thousand Oaks, CA 91360-5831                    Ste 310                                  Ste 310
                                                Roswell, GA 30076-8667                   Roswell, GA 30076-8667

Cogency Global Inc                              Comcast                                  Comenity Bank
Joan Wagner                                     Cassandra Johnson Landry                 Payne Richards & Associates
10 East 40th Street                             869 Natchez Valley Trace                 PO Box 10389
10th Floor                                      Grayson, GA 30017-4963                   Bakersfield, CA 93389-0389
New York, NY 10016-0201

Commercial Trade Inc                            Commonwealth Land                        Convergent Outsourcing Inc
PO Box 10389                                    Title Insurance Company                  PO Box 9004
Bakersfield, CA 93389-0389                      601 Riverside Ave                        Renton, WA 98057-9004
                                                Jacksonville, FL 32204-2901


Credence Resource Management                    Credence Resource Management, LLC        Credit Central Services LLC
17000 Dallas Parkway Suite 204                  6045 Atlantic Blvd                       9550 Regency Square Blvd
Dallas, TX 75248-1940                           Norcross, GA 30071-1321                  Suite 500A
                                                                                         Jacksonville, FL 32225-8169


Cynthia Pope                                    Melissa J. Davey                         De Lage Landen Financial Services Inc.
Small Business Administration                   Office of Melissa J. Davey               1111 Old Eagle School Rd
409 3rd St SW MC 2150                           Standing Chapter 13 Trustee              Wayne, PA 19087-1453
Washington, DC 20416-0005                       Suite 200
                                                260 Peachtree Street, NW
                                                Atlanta, GA 30303-1236
De Lage Landen Financial Services Inc.          De Lage Landen Financial Services Inc.   De Lage Landen Financial Services Inc.
1775 Tysons Blvd                                C T Corporation                          Hays Potter Martin LLP
Tyson, VA 22102-4284                            289 S Culver St                          3945 Holcomb Bridge Rd Ste 300
                                                Lawrenceville, GA 30046-4805             Peachtree Corners, GA 30092-5200


De Lage Landen Financial Services Inc.          DeKalb County Tax Commissioner           Delong, Caldwell, Bridges,
William Leroy Deckelman Jr.                     Attn: Collections                        Fitzpatrick & Benjamin LLC
1775 Tysons Blvd                                4380 Memorial Drive Ste 100              101 Marietta NW Ste 3100
Tyson, VA 22102-4284                            Decatur GA 30032-1239                    Atlanta, GA 30303-2731


Department of the Treasury                      Deutsche Bank National Trust Company,    Dorian Murry
Internal Revenue Service                        Ocwen Loan Servicing, LLC                Attorney at Law
P.O. Box 7346                                   Attn: Bankruptcy Department              5300 Memorial Dr
Philadelphia, PA 19101-7346                     PO Box 24605                             Ste 138
                                                West Palm Beach, FL 33416-4605           Stone Mountain, GA 30083-3155

Dorion Murry                                    Dorough & Dorough                        Dorough & Dorough
Attorney at Law                                 160 Clairemont Ave                       160 Clairemont Ave
5300 Memorial Dr                                Ste 630                                  Suite 650
Ste 138                                         Decatur, GA 30030-2534                   Decatur, GA 30030-2534
Stone Mountain, GA 30083-3155

Dorough & Dough                                 Dorough & Dough Attys at Law             Eastside Medical
Attys at Law                                    180 Clairemont Ave                       PO Box 740766
160 Clairemont Ave                              Decatur GA 30030                         Cincinnati, OH 45274-0766
Decatur, GA 30030-2500
                Case 18-55697-lrc
Eileen G. Bottino                     Doc 200
                                            ElliceFiled  07/12/19 Entered 07/12/19 14:23:40
                                                   P. Martin                                      Desc
                                                                                    Ellice P. Martin,     Main
                                                                                                      Secretary
ReadyCap Lending LLC                            Document
                                            Secretary of GA BHDD Page 5 of 10       GA Dept of Behavioral Health &
420 Mountain Ave                             Two Peachtree St NW 24th Floor              Two Peachtree St NW 24th Floor
New Providence, NJ 07974-2736                Atlanta, GA 30303-3142                      Atlanta, GA 30303-3142


Emory Eastside Medical Center                First Franklin                              First Franklin
Resurgent Capital Services                   4061 Powder Mill Rd #600                    Div of National Bank of IN
PO Box 1927                                  Calverton MD 20705-4039                     4061 Powder Mill Rd #600
Greenville, SC 29602-1927                                                                Calverton, MD 20705-4039


Forrestall CPA                               GE Mortgage Insurance                       Georgia Department of
5328 Lanier Islands Pkwy                     150 Grossman Dr Suite 301                   Community Health
Ste 201                                      Braintree, MA 02184-4951                    Benefit’s Recovery Section
Buford, GA 30518-9056                                                                    2 Peachtree Street, N.W.
                                                                                         Atlanta, GA 30303-3141

Georgia Department of Behaviorial            Georgia Department of Behaviorial           Georgia Department of Community Health
Health & Developmental Disabilities          Health & Developmental Disabilities         2 Peachtree Street, NW 40th Floor
Commissioner’s Office                        Commissioner’s Office, Frank Berry          Atlanta, GA 30303-3141
Judy Fitzgerald                              Two Peachtree Street, N.W. 24th Fl
Two Peachtree Street, N.W. 24th Fl           Atlanta, GA 30303-3142
Atlanta, GA 30303-3142
Georgia Power                                Georgia Superior Court                      Neil C. Gordon
c/o Kevin Pearson                            Clerk Cooperative                           Arnall, Golden & Gregory, LLP
241 Ralph McGill Blvd NE                     1875 Century Blvd Ste 100                   Suite 2100
Bln #10180                                   Atlanta, GA 30345-3314                      171 17th Street, NW
Atlanta, GA 30308-3374                                                                   Atlanta, GA 30363-1031

Great America Financial Service              Great America Financial Service             GreatAmerica Financial Svcs.
625 First St. SE, Suite 800                  625 First Street SE, Suite 600              PO Box 660831
Cedar Rapids, IA 52401-2031                  Cedar Rapids IA 52401-2030                  Dallas, TX 75266-0831



Green & Associates PC                        Whitney W. Groff                            Grossman & Karaszewski LLC
c/o Cassandra Johnson Landry                 Georgia Attorney General                    Attn William Grossman
869 Natchez Valley Trace                     40 Capitol Square, SW                       5965 Transit Road Ste 500
Grayson, GA 30017-4963                       Atlanta, GA 30334-9057                      East Amherst NY 14051-1874


Grossman & Karaszewski PLLC                  Gwinnett County Fire and                    H & R BLOCK MORTGAGE
Attn William Grossman                        Emergency Services                          P.O. BOX 949
5965 Transit Road Ste 500                    480 Bedford Rd                              Orange Ca 92856-6949
East Amherst NY 14051-1874                   Bldg 600 2nd Floor
                                             Chappaqua, NY 10514-1715

H and R Block Mortgage                       S. Gregory Hays                             Hedrick Kring PLLC
C/O Option One                               Hays Financial Consulting, LLC              Delta
PO Box 949                                   Suite 555                                   1700 Pacific Ave Ste 4650
Orange, CA 92856-6949                        2964 Peachtree Road                         Dallas, TX 75201-4684
                                             Atlanta, GA 30305-4909

HomeBanc Mortgage                            Homeside Properties Inc                     Honorable Justin S. Anand
101 E. Kennedy Blvd                          2555 Westside Parkway                       1864 Richard B Russell Federal Bldg
Ste 4100                                     Ste 600                                     and US Courthouse
Tampa, FL 33602-5164                         Alpharetta, GA 30004-4191                   75 Ted Turner Drive SW
                                                                                         Atlanta, GA 30303-3315
Honorable JustinCase   18-55697-lrc
                 S. Anand             Doc 200    Filed
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Federal Bldg                                 Federal Bldg and US Courthouse               Federal Bldg and US Courthouse
75 Ted Turner Drive SW                       75 Ted Turner Drive SW                       75 Ted Turner Drive SW
Atlanta, GA 30303-3315                       Atlanta, GA 30303-3315                       Atlanta, GA 30303-3315

Honorable Leigh Martin May                   Huron Group/Bank of America                  Huron Law Group
2167 Richard B Russell Federal Bldg          Cooling Water                                34851 Harry S Truman Blvd
75 Ted Turner Drive SW                       1355 Roswell Rd, Ste 240                     St. Charles, MO 63301
Atlanta, GA 30303-3315                       Marietta, GA 30062-3690


A. Michelle Hart Ippoliti                    JPMorgan Chase Bank, National Association    Jackson & Hardwick
McCalla Raymer Leibert Pierce, LLC           Chase Records Center                         2325 Lakeview Pkwy #275
1544 Old Alabama Road                        Attn: Correspondence Mail                    Alpharetta, GA 30009-7944
Roswell, GA 30076-2102                       Mail Code LA4-5555
                                             700 Kansas Lane
                                             Monroe, LA 71203-4774
Jackson & Hardwick                           Jeanette B Burns                             Jeanette B Burns
253 Main St                                  1225 Johnson Ferry Rd                        Weissman Nowack Curry & Wilco PC
Loganville, GA 30052-2676                    Marietta, GA 30068-2727                      5909 Peachtree Dunwoody Road
                                                                                          Building D, Suite 100
                                                                                          Atlanta, GA 30328-8102

Jeffrey E Atkinson                           John G Aldridge                              John G Aldridge Jr PC
c/o William Calvin Bomar                     Atlanta, GA 30327                            Fifteen Piedmont Center
100 Galleria Pkwy SE                                                                      3575 Piedmont Rd NE Ste 500
Ste 480                                                                                   Atlanta, GA 30305-1636
Atlanta, GA 30339-3165

Jonathan M. Weiss                            Brian K. Jordan                              Judy Fitzgerald
Klee, Tuchin, Bogdanoff & Stern LLP          Aldridge Pite, LLP                           GA Commissioner of BHDD
1999 Avenue of the Stars                     Suite 500 - Fifteen Piedmont Center          Two Peachtree St NW 24th Floor
39th Floor                                   3575 Piedmont Road, NE                       Atlanta, GA 30303-3142
Los Angeles, CA 90067-6049                   Atlanta, GA 30305-1636

Judy Fitzgerald, Commissioner                Karen W Hester                               Kimberly Ryan
GA Dept of Behavioral Health &               1551 Annapolis Way                           Chair of BHDD
Two Peachtree St NW 24th Floor               Grayson, GA 30017-1097                       Two Peachtree St NW 24th Floor
Atlanta, GA 30303-3142                                                                    Atlanta, GA 30303-3142


Kimberly Ryan, Chair                         David S. Klein                               Lindsay P. S. Kolba
GA Dept of Behavioral Health &               Rountree Leitman & Klein, LLC                Office of the U.S. Trustee
Two Peachtree St NW 24th Floor               Century Plaza I                              Suite 362
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                                             Suite 175                                    Atlanta, GA 30303-3330
                                             Atlanta, GA 30329-4406
Land America Lawyers Title                   Cassandra Johnson Landry                     Lazega & Johanson LLC
Consumer Affairs Dept                        P.O. Box 1275                                Bradley W Griffin 746187
PO Box 27467                                 Grayson, GA 30017-0024                       3520 Piedmont Rd NE
Richmond, VA 23261-7567                                                                   Ste 4015
                                                                                          Atlanta, GA 30305-1512

Liberty Mutual Insurance Company             Macquarie Equipment Finance                  Macy’s American Express
175 Berkeley Street                          PO Box 2017                                  PO Box 9001108
Boston, MA 02116-3350                        Bloomfield Hills, MI 48303-2017              Louisville, KY 40290-1108
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Kaiser Permanente                              Document
                                           Attorney at Law LLC Page 7 of 10      1544 Old Alabama Rd
One Kaiser Plaza                            T-Mobile                                     Roswell, GA 30076-2102
Oakland, CA 94612-3610                      301 Beacon Parkway West, Ste 100
                                            Birmingham, AL 35209-3103

Andrew Houston McCullen                     Media Pages                                  Michelle Townes
Aldridge Pite LLP                           28364 South Western Ave                      456 Athens St
Suite 500                                   #28                                          Jefferson, GA 30549-1408
3575 Piedmont Road NE                       Rancho Palos Verdes, CA 90275-1434
Atlanta, GA 30305-1636

Michelle Townes 714924                      Midland Funding LLC                          Natchez Trace HOA
Assistant Attorney General                  PO Box 2011                                  838 Natchez Valley Trace
456 Athens ST                               Warren, MI 48090-2011                        Grayson, GA 30017-4966
Jefferson, GA 30549-1408


Natchez Trace HOA                           Natchez Trace Homeowners Association, Inc.   National Board of Certified Counselors
839 Natchez Valley Trace                    G. Lanier Coulter                            Andreea Tiganus
Grayson, GA 30017-4963                      2800 Century Parkway, Ste. 275               3 Terrace Way
                                            Atlanta, GA 30345-3144                       Greensboro, NC 27403-3660


Neiman Marcus                               Nelson Mullins Riley and Scarborough LLP     North Fulton Title Co
PO Box 5235                                 Attorney Greg Taube                          Stephen L Jenkins
Carol Stream, IL 60197-5235                 201 17th 81 NW Ste 1700                      4463 Towne Lake Pkwy
                                            Atlanta, GA 30363-1099                       Ste 100
                                                                                         Woodstock, GA 30189-8230

L. Stephen O’Hearn Jr.                      Ocwen Loan Servicing                         Ocwen Loan Svc/Option One
Meyer & Sayers, LLP                         Nationstar                                   PO Box 24605
P O Box 16089                               PO Box 660264                                West Palm Beach, FL 33416-4605
Savannah, GA 31416-2789                     Dallas, TX 75266-0264


Ocwen Loan/Nationstar                       Office of the United States Trustee          On Deck
PO Box 24605                                362 Richard Russell Building                 901 North Stuart St
West Palm Beach, FL 33416-4605              75 Ted Turner Drive, SW                      Ste 700
                                            Atlanta, GA 30303-3315                       Arlington, VA 22203-4129


OnDeck                                      OnceLogix LLC                                P Brian Campbell
1400 Broadway                               111 North Chestnut St                        Assistant Attorney General
New York, NY 10018-5300                     Ste 302                                      456 Athens ST
                                            Winston Salem, NC 27101-4056                 Jefferson, GA 30549-1408


P Brian Campbell 106755                     PNC Bank National Association Inc            PNC Bank National Association Inc.
Assistant Attorney General                  300 Fifth Avenue                             C/O Christi Davis, Board Secretary
456 Athens ST                               Pittsburgh, PA 15222-2401                    300 Fifth Avenue
Jefferson, GA 30549-1408                                                                 Pittsburgh, PA 15222-2401


PNC Bank National Association Inc.          PRA Receivables Management, LLC              Parnell & Parnell
c/o Corporation Service Company             PO Box 41021                                 641 South Lawrence St
40 Technology Pkwy South                    Norfolk, VA 23541-1021                       Montgomery, AL 36104-5848
Ste 300
Norcross, GA 30092-2924
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PO Box 2139                                         Document           Page
                                                801 Pegasus Dr. Suite 101     8 of 10         & Jones, PLLC (FL)
Montgomery, AL 36102                              Bakersfield, CA 93308                         1617 JFK Boulevard Ste 1400
                                                                                                Philadelphia, PA 19103-1814


Publishers Clearing House                         Quantum3 Group LLC as agent for               ReadyCap Lending
PO Box 6344                                       Comenity Bank                                 420 Mountain Ave
Harlan, IA 51593-1844                             PO Box 788                                    New Providence, NJ 07974-2736
                                                  Kirkland, WA 98083-0788


ReadyCap Lending, LLC                             Regency Mortgage                              Regions Mortgage
c/o Eileen Bottino                                5395 Roswell Rd NE                            605 So Perry St
420 Mountain Ave                                  Atlanta, GA 30342-1976                        Montgomery, AL 36104-5821
New Providence, NJ 07974-2736


Regions Mortgage                                  Residential Title Inc                         Resurgent Capital Services
605 South Perry Street                            Kenneth E. Sullivan                           Cach, LLC
Montgomery AL 36104-5821                          245 West Crogan St                            55 Beattie Pl Ste 110
                                                  Lawrenceville, GA 30046-4863                  Greenville, SC 29601-5115


Resurgent Capital Services LLP                    Resurgent Capital Services LLP/CACH LLC       Richard Green, II
Freshview Solutions                               P.O. Box 10497                                Administrative Judge
PO Box 10497                                      Greenville, SC 29603-0497                     191 Peachtree St NE
Greenville, SC 29603-0497                                                                       Ste 3275
                                                                                                Atlanta, GA 30303-1784

Richard Green, II, Administrative Judge           Richard Payne Associates                      Ring Central
191 Peachtree St NE                               3801 Pegasus Dr. Suite 101                    20 Davis Dr
Atlanta, GA 30303-1740                            Bakersfield, CA 93308-6874                    Belmont, CA 94002-3002



Riverdale Funding                                 Riverdale Funding                             Riverdale Funding
C/O Woiodbridge Funding                           c/o Woodbridge Lending                        c/o Woodbridge Lending
12050 Ventura Blvd                                12050 Ventura Blvd                            Woodbridge Group of Companies, LLC
Studio City CA 91604-2638                         Studio City, CA 91604-2638                    Studio City, CA 91604


Safeco Insurance                                  Safeco Insurance                              Saks World Elite/Capital One
175 Berkeley Street                               P.O. Box 10002                                Frontline Asset Strategy
Boston, MA 02116-5066                             Manchester, NH 03108-1002                     2700 Snelling Ave N Ste 250
                                                                                                Roseville, MN 55113-1783


Sarah Hawkins                                     John D. Schlotter                             Select Portfolio Services
Little Rock Commercial                            McCalla Raymer Pierce, LLC                    PO Box 65450
2120 Riverfront Drive                             1544 Old Alabama Road                         Salt Lake City, UT 84165-0450
Suite 100                                         Roswell, GA 30076-2102
Little Rock, Arkansas 72202-1794

Shalen Nelson                                     Shalen Nelson 636575                          Sound Telecom
Senior Assistant Attorney General                 Senior Assistant Attorney General             PO Box 789050
456 Athens St                                     456 Athens ST                                 Philadelphia, PA 19172-0001
Jefferson, GA 30549-1408                          Jefferson, GA 30549-1408
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PO Box 789050                                      Document
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Philadelphia, PA 19178-9050                     Charlotte, NC 28201-1423                  Charlotte, NC 28201-1118



Stoneleigh Recovery Associates                  Synchrony Bank                            Synchrony Bank (Sam’s Club)
PO Box 1479                                     c/o PRA Receivables Management, LLC       Midland Funding
Lombard, IL 60148-8479                          PO Box 41021                              1355 Roswell Rd Ste 240
                                                Norfolk, VA 23541-1021                    Marietta, GA 30062-3690


Tamera Bell                                     Tamera Bell                               Gregory M. Taube
5220 North Somerset LN                          c/o Mzekewe Legal LLC                     Nelson Mullins Riley & Scarborough, LLP
Alpharetta, GA 30004-7419                       PO 849                                    Suite 1700
                                                Atlanta, GA 30301-0849                    201 17th Street, NW
                                                                                          Atlanta, GA 30363-1099

The Bureaus/Capital One                         The Downs Homeowners Assoc                The Downs Homeowners Association
P.O. Box 1479                                   c/o Community Mgmt Inc                    c/o Georgia Community Mgmt Inc.
Lombard, IL 60148-8479                          2120 Hwy 81                               Loganville, GA 30052
                                                Loganville, GA 30052-4331


The Downs Homeowners Association, Inc.          Timothy R Hester                          (p)TMX FINANCE LLC FORMERLY TITLEMAX
c/o Lazega & Johanson, LLC                      1551 Annapolis Way                        15 BULL STREET
P.O. Box 250800                                 Grayson, GA 30017-1097                    SUITE 200
Atlanta, Georgia 30325-1600                                                               SAVANNAH GA 31401-2686


Robert Trauner                                  Travelers Insurance                       Maria A. Tsagaris
P. O. Box 421025                                175 Berkeley Street                       McCalla Raymer Liebert Pierce
Atlanta, GA 30342-8025                          Boston, MA 02116-5066                     1544 Old Alabama Road
                                                                                          Roswell, GA 30076-2102


U.S. Bank National Association                  (p)US PREMIUM FINANCE                     Valeri Burnough
3476 STATEVIEW BLVD                             280 TECHNOLOGY PARKWAY                    7842 Clearview Cir
MAC D3347-014                                   SUITE 200                                 Riverdale, GA 30296
FORT MILL, SC 29715-7203                        NORCROSS GA 30092-2990


Valeri Burnough                                 Valeri Burnough                           Veripro Solutions
Delong Caldwell Bridgers                        c/o Cassandra Johnson Landry              PO Box 3572
Fitzpatrick & Benjamin                          869 Natchez Valley Trace                  Coppell, TX 75019-5538
101 Marietta St, NW, Suite 3100                 Grayson, GA 30017-4963
Atlanta, GA 30303-2731

Weissman Nowack Curry & Wilco PC                Weissman Nowack Curry & Wilco PC          Weissman PC
Altisource Portfolio Solutions                  One Alliance Center                       One Alliance Center
One Alliance Center                             3500 Lenox Rd 4th Floor                   4th Floor
3500 Lenox Rd 4th Floor                         Atlanta, GA 30326-4228                    3500 Lenox Rd
Atlanta, GA 30326-4228                                                                    Atlanta, GA 30326-4228

Wells Fargo                                     Wilmington Savings Fund Society, FSB,     Wilmington Trust, National Association
2135 East Main St                               c/o CARRINGTON MORTGAGE SERVICES, LLC     Select Portfolio Servicing, Inc.
Ste 180                                         BANKRUPTCY DEPARTMENT                     P.O. Box 65250
Snellville, GA 30078-6434                       1600 SOUTH DOUGLASS ROAD                  Salt Lake City UT 84165-0250
                                                ANAHEIM, CA 92806-5951
                Case
Wilmington Trust,      18-55697-lrc
                  National Association        Doc 200    FiledGroup
                                                    Woodbridge  07/12/19       Entered
                                                                    of Companies, LLC     07/12/19 14:23:40       Desc
                                                                                                    Woodbridge Group      Main LLC
                                                                                                                     of Companies,
c/o Select Portfolio Servicing, Inc.                    Document
                                                    c/o GCG              Page     10  of 10         c/o Riverdale Funding
P.O. Box 65250                                        P.O. Box 10545                                      207 Mockingbird Ln Ste 402
Salt Lake City, UT 84165-0250                         Dublin, OH 43017-0208                               Johnson City, TN 37604-3137


Woodbridge Mortgage Investment Fund 3A, LLC
Klee, Tuchin, Bogdanoff & Stern LLP
1999 Avenue of the Stars
39th Floor
Los Angeles, CA 90067-6049



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


TitleMax Corporate Office                             (d)TitleMax of Georgia, Inc. d/b/a TitleMax         US Premium Finance
15 Bull Street                                        15 Bull Street, Suite 200                           280 Technology Parkway Suite 200
Savannah GA 31401-2685                                Savannah, GA 31401                                  Norcross GA 30092




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)American Express Delta Sky Miles                   (d)American Express Delta Sky Miles                 (u)DEUTSCHE BANK NATIONAL TRUST COMPANY
PO Box 1270                                           PO Box 1270
Newark, NJ 07101-1270                                 Newark, NJ 07101-1270



(du)Deutsche Bank National Trust Company              (u)Georgia Department of Community Health           (u)JPMorgan Chase Bank, National Association




(u)King Group Mgmt, LLC                               (u)Ocwen Loan Servicing, LLC                        (u)ReadyCap Lending, LLC




(u)Select Portfolio Servicing Inc.                    (u)Sukhmani Investments, LLC                        (u)Wilmington Savings Fund Society, FSB, as t




End of Label Matrix
Mailable recipients   243
Bypassed recipients    12
Total                 255
